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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

        Plaintiff,
                                                     Case No. 17-20595
 v.
                                                     Hon. Marianne O. Battani
 YOUSEF MOHAMMAD RAMADAN,

        Defendant.

 _____________________________________/


                                 ORDER DENYING
                          DEFENDANT’S MOTION TO DISMISS

        In a motion filed on March 25, 2019, Defendant seeks the dismissal of the

 indictment, citing the Government’s purported failure to comply with its obligation to

 produce certain discovery materials. On April 15, 2019, the Government filed a

 response in opposition to Defendant’s motion, and the Court heard argument on this

 motion on April 18, 2019. For the reasons stated on the record at the April 18 hearing,

        IT IS HEREBY ORDERED that Defendant’s March 25, 2019 motion to dismiss

 (Dkt. 129) is DENIED.


 Date: May 1, 2019                                s/Marianne O. Battani
                                                  MARIANNE O. BATTANI
                                                  United States District Judge
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                                                  CERTIFICATE OF SERVICE

 The undersigned certifies that the foregoing Order was served upon counsel of record via the Court's ECF System to their
 respective email addresses or First Class U.S. mail to the non-ECF participants on May 1, 2019.


                                                                               s/ Kay Doaks
                                                                               Case Manager




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